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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


UNITED STATES OF AMERICA,

              Plaintiff,
                                                 CASE NO. 1:04-CR-268
v.
                                                 HON. ROBERT HOLMES BELL,
LARRY LERON LEWIS,

              Defendant.
                                  /

                      MEMORANDUM OPINION AND ORDER

       This matter is before the Court on defendant’s Motion for Modification or

Reduction of Sentence Pursuant to 18 U.S.C. §3582(c)(2) (docket #163). Based on a

review of defendant’s motion, the Sentence Modification Report, submissions by counsel

on behalf of the defendant and the government, and the original criminal file, the Court

has determined that the motion should be denied as follows:

       Defendant was sentenced to 120 months custody as to 9 counts of an Indictment

charging activity involving crack cocaine, all counts to be served concurrently. Counts 1

and 16 carried mandatory minimum penalties of ten years. The Sentencing Guidelines

provide that “where a statutorily required minimum sentence is greater than the maximum

of the applicable guideline range, the statutorily required minimum sentence shall be the

guideline sentence.” USSG §5G1.1(b). Since Amendment 750 does not result in a lower

guideline range due to the mandatory minimum sentence imposed, defendant is not

eligible for a sentence reduction under 18 U.S.C. §3582(c)(2) and USSG §1B1.10.

Date: May 21, 2012                        /s/ Robert Holmes Bell
                                          ROBERT HOLMES BELL
                                          UNITED STATES DISTRICT JUDGE
